             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 1 of 39




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6                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
7
                                         AT SEATTLE
8
     RICK DAVIS, SR., MATHEW KOOHNS, and
9    BRETT A. LOCKHART, SR., individually and               Case No. 2:21-cv-01220
     on behalf of all others similarly situated,
10
                                   Plaintiffs,
                                                            CLASS ACTION COMPLAINT
11
            v.
12   UNITED HEALTH GROUP
     INCORPORATED, UNITEDHEALTHCARE
13
     INSURANCE COMPANY,
14
     UNITEDHEALTHCARE OF WASHINGTON,
     INC., and UNITED HEALTHCARE
15   SERVICES, INC.,
                                   Defendants.
16

17          Plaintiffs Rick Davis, Sr. (“Davis”), Mathew Koohns (“Koohns”), and Brett A. Lockhart,
18
     Sr. (“Lockhart,” and together with Davis and Koohns, “Plaintiffs”), individually and on behalf of
19
     all others similarly situated, bring the following complaint against Defendants United Health
20
     Group Incorporated, UnitedHealthcare Insurance Company, UnitedHealthcare of Washington,
21
     Inc., and UnitedHealthcare Services, Inc. (collectively, “United”), as follows:
22

23                                         INTRODUCTION

24          1.      United is in the business of administering health plans, many of which are

25   governed by the Employee Retirement Income Security Act of 1974, 29 U.S.C. §§ 1001 et seq.
26
     (“ERISA”).
                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 1                                             3101 WESTERN AVENUE, SUITE 350
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             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 2 of 39




1           2.      United fails to reimburse claims for health care benefits provided by “out-of-

2    network” providers according to the payment terms of the written ERISA plan. In particular,
3
     United improperly bypasses the requirement of certain plans that United first determine the
4
     allowed amount of benefits according to any contract that the provider might have with United or
5
     a vendor, affiliate, or subcontractor of United. By bypassing this first reimbursement provision,
6
     United causes the plans it administers to pay less in benefits for covered healthcare services than
7

8    the plans require. United’s conduct violates the written plan terms and ERISA, including United’s

9    fiduciary duties under ERISA.

10          3.      The ERISA plans that United administers are either “self-funded,” meaning that
11
     the employer plan sponsor pays benefit claims from its own assets, or “fully insured,” meaning
12
     that United pays benefit claims from its own assets in exchange for a premium payment made by
13
     the employer and/or its employees.
14
            4.      Most of the ERISA plans United administers cover health care services received
15

16   by insureds from either in-network (“INET”) providers, who have entered into contracts with

17   United to provide services at negotiated rates, or out-of-network (“ONET”) providers, who are
18
     not contracted to be part of United’s “network.”
19
            5.      Each ERISA plan United administers has a provision that specifies how benefit
20
     amounts will be determined. Those provisions all utilize the concept of “Eligible Expenses”
21
     (sometimes called “Eligible Charges,” “Allowed Amount,” or other comparable term), which is
22

23
     defined to mean the portion of a bill that will be “allowed” for purposes of calculating the benefits

24   that the plan will pay for a particular service. The amount of the bill in excess of the allowed

25   amount is deemed to be “not covered” under the applicable United plan.
26

                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 2                                              3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                  SEATTLE, WASHINGTON 98121
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              Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 3 of 39




1             6.       For INET services, the plans define Eligible Expenses to mean the rates that the

2    INET provider agreed to accept pursuant to its contract with United. The member is then only
3
     financially responsible for deductibles, copayments, and coinsurance, tied to the discounted INET
4
     rates.
5
              7.       For ONET services, many of the United plans require that, to set the Eligible
6
     Expenses, United must first determine if the ONET provider has entered into an agreement with
7

8    United or one of its “vendors, affiliates or subcontractors” (“vendors”) to accept a discounted,

9    negotiated rate as payment in full for the service. United plans with such a provision are referred

10   to herein as "Vendor Contract Plans.” If the ONET provider has entered into such a contract,
11
     United must use those negotiated rates as the Eligible Expenses. United members who obtain care
12
     from such ONET providers benefit substantially because their financial responsibility will be
13
     limited to the deductible, copayment, and coinsurance amounts based on the discounted
14
     negotiated fee.
15

16            8.       Only if the ONET provider has not agreed to a negotiated rate with United or one

17   of its vendors does the Vendor Contract Plan allow United to turn to a secondary, alternate
18
     methodology (often based on Medicare rates) to determine Eligible Expenses.
19
              9.       United has a variety of vendors that have executed contracts with ONET providers.
20
     These agreements entitle the provider to reimbursement based on the vendor contract rate (which
21
     is often a specified percentage of billed charges) in exchange for the provider’s agreement not to
22

23
     bill the patient the difference between the amount allowed by the contract and the full billed

24   charge. Among United’s vendors are MultiPlan, Inc. (“MultiPlan”) and Preferred Medical Claims

25   Solutions (“PMCS”).
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 3                                              3101 WESTERN AVENUE, SUITE 350
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             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 4 of 39




1           10.       In direct contravention of the written plan terms defining Eligible Expenses, as

2    well as United’s fiduciary duties (including, but not limited to, the duty of loyalty to exercise its
3
     discretion in a manner that advances the interests of plan members like Plaintiffs), United
4
     frequently refuses to cause Vendor Contract Plans to pay the rates set forth in contracts that its
5
     vendors have executed with ONET providers. Instead, United causes such plans to pay lower rates
6
     for ONET services, using alternate methodologies such as Medicare rates.
7

8           11.       For Davis, United recognized that his treating ONET provider was a party to a

9    contract with PMCS, a United vendor, and applied the terms of the PMCS contract in calculating

10   the ONET benefits for two office visits. Yet, United then ignored the PMCS contract when
11
     processing claims for back injection and a back surgery, using Medicare rates instead. For
12
     Koohns, United determined Eligible Expenses using Medicare rates instead of the vendor
13
     contracts to which his ONET providers were parties. Medicare rates are different from the
14
     MultiPlan ONET agreement in place with his providers, and far below the rate in that Multiplan
15

16   agreement. For Lockhart, United determined Eligible Expenses using an amount calculated by

17   Data iSight, a company that United hires to price ONET claims. Data iSight calculated an amount
18
     using its own Medicare-based methodology which was contrary to and far below the rate provided
19
     for under the MultiPlan ONET agreement in place with Lockhart’s provider. Regardless of which
20
     alternative methodology is used by United, it not only violates written plan terms requiring use of
21
     negotiated rate agreements when they are available, but also elevates United’s own interests and
22

23
     those of its plan sponsor employer customers above the interests of plan participants and

24   beneficiaries.

25

26

                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 4                                              3101 WESTERN AVENUE, SUITE 350
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             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 5 of 39




1                                              THE PARTIES

2           12.       Plaintiff Davis is a resident of Snohomish, Washington. He is insured under a self-
3    funded health benefit plan, the Target Corporation Employee Umbrella Welfare Benefit Plan (the
4
     “Target Plan”), issued through his wife’s employer, the Target Corporation (“Target Plan). The
5
     Target Plan provides that it is administered by Defendant United HealthCare Services, Inc.
6
     (“UHS”), and specifies that Target “has delegated to UnitedHealthcare the discretion and
7

8
     authority to decide whether a treatment or supply is a Covered Service and how the Eligible

9    Expenses will be determined and otherwise covered under the Plan.”

10          13.       Plaintiff Koohns is a resident of Puyallup, Washington. He is insured under a fully
11
     insured health care benefit plan, the Miles Sand & Gravel Welfare Benefit Plan (“MS&G Plan”),
12
     issued through his employer, Miles Sand & Gravel (“MS&G”), which is headquartered in
13
     Puyallup, Washington. The MS&G Plan is underwritten (i.e., insured) by UnitedHealthcare of
14
     Washington, Inc. (“UHC Washington”). Pursuant to this fully insured plan, United pays all
15

16   covered medical expenses through its own assets and serves as the plan’s claims administrator

17   and fiduciary.

18          14.       Plaintiff Lockhart is a resident of Cocoa, Florida. He is insured under a self-funded
19
     health care benefit plan, the Jacobs Engineering Group Inc. Medical Plan (the “Jacobs Plan”).
20
     Lockhart is a participant in the Jacobs Plan through his employer, the Jacobs Engineering Group
21
     Inc. (“Jacobs”). Jacobs hired defendant UHS to serve as the plan’s claims administrator. As with
22
     Target under the Targe Plan, Jacobs “has delegated to UnitedHealthcare the discretion and
23

24   authority to decide whether a treatment or supply is a Covered Service and how the Eligible

25   Expenses will be determined and otherwise covered under the Plan.”
26

                                                                                 SIRIANNI YOUTZ
                                                                           SPOONEMORE HAMBURGER PLLC
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              Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 6 of 39




1            15.      Defendant UHC Washington is a Washington corporation with its principal offices

2    at 1111 Third Avenue, Suite 1100, Seattle, WA, 98101. UHC Washington, which was established
3
     in the State of Washington to deal with Washington-based United plans, is the underwriter
4
     (insurer) of the MS&G Plan, which insures Plaintiff Koohns. UHC Washington is a wholly owned
5
     subsidiary of Defendant UnitedHealth Group Incorporated (“UHG”).
6
             16.      Defendant UHG is a diversified health care company, with two primary
7

8    complementary businesses which operate under the names Optum and UnitedHealthcare. Optum

9    is an information and technology-enabled health services business, while UnitedHealthcare offers

10   a full spectrum of health benefit programs. In addition to offering services through INET
11
     providers, UnitedHealthcare provides coverage under most of its plans for services provided by
12
     ONET providers. UnitedHealthcare plans provide health care coverage to 26.2 million people in
13
     all 50 states.
14
             17.      Either directly or through its wholly owned and controlled business units and
15

16   subsidiaries, UHG issues and administers health benefit plans and is delegated responsibility to

17   make benefit determinations pursuant to those plans, including the MS&G, Target, and Jacobs
18
     Plans. As such, UHG is a fiduciary under ERISA with regard to its benefit determinations at issue
19
     in this litigation.
20
             18.      Defendant United HealthCare Insurance Company (“UHIC”) is a wholly owned
21
     and controlled subsidiary of Defendant United Healthcare Services, Inc. (“UHS”). UHIC is also
22

23
     the designated “Claims Fiduciary” under the MS&G Plan which made the coverage decisions at

24   issue in this case with respect to Koohns. In addition, using the address of UHG, UHIC issued the

25   “Electronic Provider Remittance Advice” to the ONET provider that performed the services at
26
     issue in this case with respect to Lockhart, detailing how the claim was processed and the amount
                                                                             SIRIANNI YOUTZ
                                                                       SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 6                                           3101 WESTERN AVENUE, SUITE 350
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             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 7 of 39




1    that was paid to the provider on Lockhart’s behalf. Moreover, UHIC is the UnitedHealthcare

2    entity that handles appeals of benefit denials. In particular, both the first and second level appeal
3
     denial letters relating to Lockhart’s claim, described below, were issued by UHIC. In processing
4
     benefit claims and making the internal appeal decisions, UHIC is an ERISA fiduciary.
5
            19.     Defendant UHS is a wholly owned and controlled subsidiary of UHG. UHS is the
6
     formally designated “Claim Administrator” to both the Target Plan and Jacobs Plan, with its
7

8    delegated role to make coverage and benefit determinations. As such, UHS is an ERISA fiduciary.

9           20.     Defendants are referred to collectively in this Complaint as “United.”

10                                   JURISDICTION AND VENUE
11
            21.     Subject-matter jurisdiction is appropriate over Plaintiff’s claims under 28 U.S.C.
12
     § 1331 (federal question jurisdiction) and 29 U.S.C. § 1132(e) (ERISA).
13
            22.     Venue is proper in this district under 28 U.S.C. § 1391(b)(1) and (c)(2). United
14
     issues and administers various ERISA health benefit plans in this District, including the MS&G
15

16   Plan for Koohns, and makes coverage and benefits decisions for insureds who reside in this

17   District, including Davis and Koohns.

18          23.     The litigation is properly filed in the Western District of Washington at Seattle
19
     because Plaintiff Davis’ claim arose in Snohomish County, Washington; one of the defendants,
20
     UnitedHealthcare of Washington, has it principal place of business in Seattle; all defendants
21
     conduct business in King County, Washington; and a substantial part of the events or omissions
22
     giving rise to the claims, including the health care services obtained by Plaintiffs Davis and
23

24   Koohns, occurred in King and Snohomish Counties.

25

26

                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
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             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 8 of 39




1                                       FACTUAL ALLEGATIONS

2    Plaintiff Davis
3            The Target Plan
4
             24.       Davis is insured under the Target Plan, which is a self-funded plan governed by
5
     ERISA. The Target Plan documents specify that it is a Choice Plus HRA which is “administered
6
     by United HealthCare Services, Inc.”
7

8
             25.       The written terms of the Target Plan explain that “Target Corporation has

9    delegated to UnitedHealthcare the discretion and authority to decide whether a treatment or supply

10   is a Covered Health Service and how the Eligible Expenses will be determined and otherwise
11
     covered under the Plan.”
12
             26.       The written terms of the Target Plan also describe how Eligible Expenses are
13
     calculated, stating:
14
             For Network Benefits. Eligible Expenses are based on the following:
15

16                 •   When Covered Health Services are received from a Network provider,
                       Eligible Expenses are UnitedHealthcare’s contracted fee(s) with that
17                     provider. . . .
18           For Non-Network Benefits, Eligible Expenses are based on either of the
             following:
19

20                 •   When Covered Health Services are received from a non-Network provider,
                       Eligible Expenses are determined, based on:
21
                       ❖ Negotiated rates agreed to by the non-Network provider and either
22
                         UnitedHealthcare or one of UnitedHealthcare’s vendors, affiliates or
23
                         subcontractors, at UnitedHealthcare’s discretion.

24                     ❖ If rates have not been negotiated, then one of the following amounts:

25                               ▪   Eligible Expenses are determined based on 110% of the
                                     published rates allowed by the Centers for Medicare and
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
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             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 9 of 39




1                                  Medicaid Services (CMS) for the same or similar service
                                   within the geographic area . . .
2
            27.     This plan provision requires United to first look to any agreements the ONET
3

4    provider has with United or one of its vendors, and apply the negotiated rates from any such

5    agreement to set Eligible Expenses. The bullets under the “For Non-Network Benefits” section

6    are articulated with an “if, then…” premise, identifying that only in the absence of such an
7
     agreement is United able to turn to the alternate methodologies, such as Medicare rates.
8
            28.     The Target Plan is a Vendor Contract Plan that requires use of negotiated rates
9
     with United vendors to set the allowed amount for ONET services, with the alternative
10
     methodologies used only if rates have not been negotiated.
11

12          Dr. Schwaegler’s and SSI’s Multiplan and PMCS Contracts

13          29.     Davis received care for his back pain from Dr. Paul E. Schwaegler and Jeffery
14   Fernandez, PA, a physician assistant who provided surgical assistant services for Dr. Schwaegler
15
     along with other services, at Seattle Spine Institute PLLC (“SSI”), located in downtown Seattle. .
16
     .
17
            30.     At the time Davis received those services, Dr. Schwaegler and SSI – who were
18

19
     ONET providers with respect to United – were parties to a negotiated fee contract with Multiplan,

20   pursuant to which the parties agreed to negotiated rates for services provided to patients insured

21   under plans for which MultiPlan served as a vendor. At this same time, Dr. Schwaegler and SSI
22
     were also contracted with another United vendor, PMCS.
23
            31.     SSI and Dr. Schwaegler entered into an initial contract with MultiPlan dated
24
     February 27, 2014. It provides as follows:
25

26

                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 9                                            3101 WESTERN AVENUE, SUITE 350
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             Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 10 of 39




1            Seattle Spine Institute PLLC (Provider) agrees to accept payment-in-full for all
             non-network claims/bills submitted to benefit programs issued or administered by
2            clients of MultiPlan (including its subsidiaries Viant and NCN) as follows:
3
                       10% off Billed Charges
4                      ****
                   •   . . . You retain the right to bill the patient (or other financially responsible
5
                       party) for items not covered under the patient’s benefit plan and for
6                      amounts such as deductibles, coinsurance, or co-payments, whenever
                       applicable.
7
                   •   By accepting this agreement, you represent that you are authorized to act
8                      on behalf of all physicians using the same TIN, and this agreement will
                       apply to all such physicians.
9

10   Dr. Schwaegler was a party to this contract along with SSI, as he was one of the providers using

11   the same Federal Tax Identification Number (“TIN”) as SSI, such that the agreement applied to
12
     his bills as well.
13
             32.       On October 26, 2017, SSI entered into a United-specific agreement with
14
     MultiPlan. It states as follows:
15
             Seattle Spine Institute PLLC (Provider) agrees to accept payment-in-full for
16
             eligible claims/bills for benefit programs issued, administered or serviced by
17
             UnitedHealthcare, on behalf of itself and its ASO customers and affiliate payors,
             a client of MultiPlan (Payor), that are submitted by Client to MultiPlan and eligible
18           for such services as follows:

19           30% off of Eligible Charges
20
                   •   By accepting this Global Amount, Provider agrees not to bill patients (or
21                     other financially responsible parties) for the difference between Billed
                       Charges and the Global Amount.
22
             ****
23
             33.       SSI, along with its providers, including Dr. Schwaegler and Mr. Fernandez, also
24

25
     had a contract with PMCS, another United vendor.

26

                                                                                    SIRIANNI YOUTZ
                                                                              SPOONEMORE HAMBURGER PLLC
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 11 of 39




1              34.    Pursuant to the terms and conditions of the PMCS contract that was in place at the

2    time of the health care services received by Davis, SSI, and its providers agreed to accept a 10%
3
     discount on all claims submitted to PMCS clients. This amount would therefore be accepted by
4
     SSI and its providers as payment in full for their services.
5
               Davis’s Office Visit Claims
6
               35.    On November 5, 2019, Davis was examined during an office visit with Mr.
7

8    Fernandez, for which Mr. Fernandez billed $152.40 in a claim submitted on Davis’s behalf to

9    United.

10             36.    In an Explanation of Benefits (“EOB”) issued to Davis by Defendant UHS dated
11
     December 12, 2019, United processed the claim by applying a $15.24 “plan discount,” leaving
12
     the “Allowed Amount” as $137.16 for the service. This entire amount was then applied to the
13
     deductible that was owed by Davis.
14
               37.    In explaining how it processed the claim, United used note 4E, which states: “This
15

16   out-of-network provider has accepted a discount for this service based on an agreement with

17   PMCS.”
18
               38.    Davis also saw Mr. Fernandez for an office visit on December 5, 2019, for which
19
     Mr. Fernandez billed $102.60. In an EOB dated January 10, 2020, United again applied the PMCS
20
     contract (using not 4E), such that it discounted 10% off of the billed charge, or $10.26, leaving
21
     $92.34 as the Allowed Amount. Once more, this entire amount was applied to Davis’s deductible,
22

23
     leaving him responsible for that amount.

24             39.    As reflected in both of the office visit EOBs, United applied the PMCS contract

25   that had been entered into by SSI, on behalf of itself, Dr. Schwaegler, and Mr. Fernandez, by
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 11                                            3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                 SEATTLE, WASHINGTON 98121
                                                                          TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 12 of 39




1    taking 10% of the billed charges. These EOBs therefore confirmed that United recognizes PMCS

2    as one of its vendors.
3
            Davis’s Injection Claims
4
            40.     On May 27, 2020, Davis received a surgical procedure from Dr. Schwaegler at
5
     SSI, in which he received certain injections to address his back pain. For these services, Dr.
6
     Schwaegler billed a total of $2,496.00. In an EOB dated July 24, 2020, issued by Defendant UHS,
7

8    United reported no “plan discounts,” but only reported $646.93 as the “Allowed Amount.” The

9    remaining $1,849.97 was reported as “non-covered,” with full Allowed Amount of $646.03

10   applied toward Davis’s deductible. The EOB then reflected that the entire $2,496.00 was the
11
     amounted owed by Davis.
12
            41.     For that same injection service, SSI also billed $2,981.00 in facility fees for the
13
     “outpatient services.” In an EOB dated July 24, 2020 issued by Defendant UHS, United again
14
     reported nothing for “plan discounts” and identified the “Allowed Amount” as $490.13, with the
15

16   remaining $2,490.87 identified as “non-covered.” With the full $490.13 applied to Davis’s

17   deductible, the entire bill of $2,981.00 was identified as the amount owed by Davis.
18
            42.     In both July 24, 2020 EOBs, United explained how it processed the claim by using
19
     note “ND,” which states: “This out-of-network service was paid based on Medicare allowed
20
     amounts or other sources if no Medicare amount is available. These amounts are used even if the
21
     patient doesn’t have Medicare.” Thus, in direct contrast to what it did with the office visit claims
22

23
     by Mr. Fernandez, United ignored the PMCS contract and, in violation of the Target Plan terms,

24   used the alternative Medicare methodology. This was despite the fact that, under the Target Plan,

25   the Medicare methodology is only to be used in the absence of a rate agreement between the
26
     ONET provider and a United vendor.
                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 12                                             3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                  SEATTLE, WASHINGTON 98121
                                                                           TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 13 of 39




1           43.        Had United applied the PMCS contract to set the Eligible Expenses for Davis’s

2    injection services as the Target Plan required, United would have deducted only $249.60 from Dr.
3
     Schwaegler’s billed charges of $2,496.00, and $298.10 from SSI’s billed charges of $2,981.00.
4
     This would have set the Allowed Amounts as $2,246.20 and $2,682.90, respectively, for a total
5
     of $4,929.10, rather than the $1,137.06 set based on the Medicare rates, or an additional
6
     $3,792.04. The individual ONET deductible for Davis under the Target Plan was $2,250. That
7

8    means that had United processed the claim properly, the entire deductible amount would have

9    been satisfied, leaving, at a minimum, more than $1,500 to be paid by the Plan. But as a result of

10   United’s violation of the plan terms, that amount that was not paid, and was left as Davis’s
11
     responsibility.
12
            44.        Davis appealed how United misprocessed his injection claims by letter dated
13
     March 29, 2021, explicitly citing the charges by both SSI and Dr. Schwaegler for the injection
14
     services he had received, and stating:
15

16          I am writing to appeal the allowed amounts for each claim as I believe they are
            incorrectly determined based on Medicare rates. The incorrect processing has left
17          me financially responsible for over $5,000! My appeal request is that United
            Healthcare reprocess these claims based on my Plan’s non-network negotiated rate
18
            benefit. Such corrected processing will leave me responsible for deductible and
19
            coinsurance amounts only, consistent with my Plan benefits.

20          45.        In the appeal letter, Davis identified the services he had received from SSI, Dr.

21   Schwaegler, and Mr. Fernandez, and quoted the specific language from the Target Plan that
22
     required using any existing negotiated rate agreements with United vendors as the basis for setting
23
     Eligible Expenses. After pointing out that the health care providers were part of SSI he added:
24
     “United Healthcare does have a negotiated rate agreement with Seattle Spine Institute through
25
     Preferred Medical Claim Solutions (PMCS), a vendor of United Healthcare. My previous care
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 14 of 39




1    with Seattle Spine Institute was processed via the PMCS negotiated rate agreement.”

2    (Emphasis in original, citing the office visit claims.)
3
            46.     Davis included copies of the EOBs, marked up to show how United had improperly
4
     applied Medicare rates for the injections by SSI and Dr. Schwaegler, and stated:
5
            My claims for 5/27/2020 have not been processed using the available PMCS
6           negotiated rate agreement. Instead, they have been processed using a Medicare
            method – a method that is supposed to be used only in the absence of a negotiated
7
            rate agreement. Please reference my marked-up Explanation of Benefits
8           reproductions below identifying this incorrect processing.
                             ****
9           . . . I request Eligible Expenses be based on the Seattle Spine Institute negotiated
            rate available to United Healthcare through PMCS. Again, my previous care
10          provided by Seattle Spine Institute has already been processed using the Seattle
            Spine Institute/PMCS agreement.
11

12          47.     By letter dated April 26, 2021, under “UnitedHealthcare” letterhead out of Salt

13   Lake City, Utah, United responded to the Davis appeal. Referring solely to the SSI claim, and not
14   mentioning the claim for Dr. Schwaegler’s services, United stated that “it has been determined
15
     that the request for payment was processed correctly.”
16
            48.     United quoted at length from the Target Plan, including how the Eligible Expenses
17
     should be calculated first based on any “negotiated rates agreed to by the non-Network provider
18

19
     and either UnitedHealthcare or one of UnitedHealthcare’s vendors, affiliates or subcontractors, at

20   UnitedHealthcare’s discretion,” and then, “[i]f rates have not been negotiated,” then United would

21   use 110% of Medicare rates. United did not provide any analysis of this language, or explain why
22
     it did not apply to require United to use SSI’s PMCS negotiated rate agreement. Instead, United
23
     ignored it, stating: “Because the claim(s) for the service(s) was processed according to the above
24
     provisions, the original determination remains unchanged and is upheld.” That conclusion was
25

26

                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 15 of 39




1    wrong, however, because it failed to follow the explicit requirements of the Target Plan with

2    regard to the application of SSI’s vendor contract.
3
            49.     The letter added that “[i]f you are not satisfied with this decision, you or your
4
     authorized representative may request a second level review.” The letter did not disclose to Davis
5
     that this second level review was mandatory prior to bringing a lawsuit to enforce the Plan terms
6
     under ERISA, nor did the letter mention litigation as an option available to Davis.
7

8           50.     By letter dated June 20, 2021, Davis filed a second level appeal relating to the

9    injection claims submitted by Dr. Schwaegler and SSI, specifically noting that it was in response

10   to United’s denial letter dated April 26, 2021.
11
            51.     In this letter, Davis again included the Target Plan language regarding United’s
12
     requirement to use any existing negotiated rate agreement between SSI and a United vendor,
13
     highlighting the key provisions. He stated:
14
            Seattle Spine Institute and PMCS:
15
            Seattle Spine Institute does have a negotiated rate agreement with Preferred
16          Medical Claim Solutions (PMCS). United Healthcare is aware of this agreement
            and PMCS is considered one of United Healthcare’s vendors, affiliates or
17          subcontractors because previous care provided to me by Seattle Spine Institute has
            been processed using their PMCS agreement.
18

19
            Summary:
            In summary, UnitedHealthcare is responsible for processing my claims consistent
20          with my benefits. My benefit language disallows use of a processing method other
            than the negotiated rate agreement method when such an agreement exists. Per
21          above, a negotiated rate agreement does exist, and United Healthcare is aware of
            it as they have already used it to process previous claims from the same provider.
22

23
            Request:
            My appeal request is simple and straightforward: I request my claims be
24          reprocessed using my Non-Network negotiated rate benefits. Specifically, I
            request Eligible Expenses be based on the Seattle Spine Institute negotiated rate
25          available to United Healthcare through PMCS.
26

                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 16 of 39




1           52.     The only additional correspondence received by Davis from United was a July 11,

2    2021 letter addressed to Dr. Schwaegler, with a copy going to Davis. In the letter, United thanked
3
     Dr. Schwaegler for his correspondence relating to Davis, but stated that it could not process the
4
     appeal without having a completed authorization form from Davis to allow Dr. Schwaegler to
5
     appeal on Davis’s behalf. But in fact Dr. Schwaegler had not filed an appeal, or any grievance,
6
     on behalf of Davis. The appeal was filed by Davis himself. Thus, this letter was erroneous and
7

8    inapplicable to the Davis appeal. Notably, United never responded to Davis’s appeal explicitly

9    relating to Dr. Schwaegler’s charges, including both the first and second level appeals, and,

10   similarly, never responded to the second level appeal relating to SSI.
11
            53.     Because Davis has never received a response from United addressing these
12
     appeals, including, in particular, his second level appeal relating to the injection claims submitted
13
     by both SSI and Dr. Schwaegler, his claims are “deemed exhausted” under ERISA. As such, he
14
     is entitled to bring this ERISA action.
15

16   Plaintiff Koohns

17          The MS&G Plan
18
            54.     Koohns is insured under the MS&G Plan, which is a fully insured plan
19
     underwritten by Defendant UHC Washington and governed by ERISA. As a fully insured plan,
20
     United pays both the medical expenses owed under the MS&G Plan out of its own assets and
21
     administers the plan by making all benefit and appeal determinations. The MS&G Plan expressly
22

23
     designates Defendant UHIC as the “Claims Fiduciary” which has “discretionary authority to

24   interpret the terms of the Plan and to determine eligibility for benefits in accordance with the

25   terms of the Plan.”
26

                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
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              Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 17 of 39




1             55.       The MS&G Plan describes how “Allowed Amounts”—which has the same

2    meaning as “Eligible Expenses in the Target Plan—are calculated, stating:
3
              Allowed Amounts are the amount we determine that we will pay for Benefits . . .
4
              For Network Benefits, Allowed Amounts are based on the following:
5
              •     When Covered Health Care Services are received from a Network provider,
6                   Allowed Amounts are our contracted fee(s) with that provider. . . .
7
              For Out-of-Network Benefits, Allowed Amounts are based on either of the
8             following:

9             •     When Covered Health Care Services are received from an out-of-Network
                    provider, Allowed Amounts are determined based on:
10

11
                    ▪   Negotiated rates agreed to by the out-of-Network provider and either us or
                        one of our vendors, affiliates or subcontractors.
12
                    ▪   If rates have not been negotiated, then one of the following amounts:
13
                        ♦ Allowed Amounts are determined based on 110% of the published rates
14
                          allowed by the Centers for Medicare and Medicaid Services (CMS) for
15                        Medicare for the same or similar service within the geographic
                          market . . .
16
                        ♦ When a rate is not published by CMS for the service, we use an
17                        available gap methodology to determine a rate for the service . . .
18
     Like Plaintiff Davis, Koohns received spine care from Dr. Schwaegler and SSI in downtown
19
     Seattle, as detailed further below. At the time he received those services, Dr. Schwaegler and SSI
20
     were parties to the negotiated fee contract with United vendors Multiplan and PMCS, as described
21
     above.
22

23            Koohns’s Office Visit Claims

24            56.       Koohns received health care during office visits with Dr. Schwaegler on two
25   occasions in 2019, once on April 18, 2019 and a second time on September 12, 2019. For each
26
     office visit, Dr. Schwaegler billed $154.20.
                                                                                 SIRIANNI YOUTZ
                                                                           SPOONEMORE HAMBURGER PLLC
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              Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 18 of 39




1             57.   On UHIC letterhead, United submitted to Koohns an EOB dated May 1, 2019

2    which indicated that the Allowed Amount for the April 18, 2019 office visit with Dr. Schwaegler
3
     was $131.09, with the remaining $23.11 “non-covered.” The entire Allowed Amount was then
4
     applied to Koohns’s deductible, such that he owed the entire amount to Dr. Schwaegler.
5
              58.   The EOB confirmed that United had ignored Dr. Schwaegler’s negotiated rate
6
     agreement with MultiPlan, in violation of the MS&G Plan, stating, with note “ND,” that “this out-
7

8    of-network service was paid based on Medicare allowed amounts or other sources if no Medicare

9    amount is available.”

10            59.   A similar EOB was issued by United, on UHIC letterhead, to address the
11
     September 12, 2019 office visit. Dated October 9, 2019, this EOB was identical: it reported that
12
     the Allowed Amount was $131.09, which was applied to Koohns’s deductible such that he owed
13
     the entire amount. United used the same “ND” remark code to explain that it had applied Medicare
14
     rates.
15

16            60.   Koohns filed an appeal with United relating to both claims in a letter dated October

17   25, 2019. He identified and quoted at length the terms from the MS&G Plan that provided that
18
     ONET benefits were to be based on “negotiated rates agreed to by the Non-Network provider and
19
     either us or one of our vendors, affiliates or subcontractors.” He further pointed out that the plan
20
     provided an “if, then” premise, such that only if there was no negotiated rate agreement could
21
     United turn to Medicare as the alternative methodology to determine the Allowed Amount.
22

23
              61.   Koohns also informed United that SSI and Dr. Schwaegler had negotiated rate

24   agreements with two United vendors, MultiPlan and PMCS, and therefore made the following

25   request:
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
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               Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 19 of 39




1              My appeal request is that these claims be reprocessed using my Negotiated Rate
               benefits. Specifically, I request the allowed amount be based on the Seattle Spine
2              Institute negotiated rate available to United Healthcare through either MultiPlan
               or PMCS. The benefit to me is that Seattle Spine Institute would be obligated to
3
               write off any amount over the Negotiated Rate, and I would not be personally
4              responsible for that amount.

5              62.    United, on “UnitedHealthcare” letterhead, responded to Koohns’s appeal by letter

6    dated April 18, 2019. This, however, was not an adjudication of the appeal, but only “an
7
     acknowledgement that [United] received an appeal request.” United did not follow this up with a
8
     decision on the appeal within the 60-day deadline required under ERISA, such that there is
9
     “deemed exhaustion” under the ERISA claims procedure regulations. See 29 C.F.R. § 2560.503-
10
     l(1).
11

12             63.    After having not received a response to his appeal, Koohns filed a complaint with

13   the Washington State Office of the Insurance Commissioner (“OIC”) by letter dated May 5, 2020.
14   The next day, May 6, 2020, the OIC forwarded Koohns’s grievance to United, asking for a
15
     response.
16
               64.    On May 19, 2020, United (on UnitedHealthcare letterhead) finally issued its
17
     response to the appeal. It confirmed that the appeal had been received on October 25, 2019, but
18

19
     that United had only completed the appeal on May 19, 2020, or nearly seven months later, which

20   was five months after the ERISA-based deadline.

21             65.     In explaining why it had used Medicare rates to set the Allowed Amount, United
22
     stated:
23
               The physician service(s) being appealed processed previously as per your out-of-
24             network plan benefits. The reason it processed this way was because the claim was
               processed using the Maximum Non-Network Reimbursement Program (MNRP).
25             MNRP is a program used to reimburse non-network physicians, facilities and other
               health care providers. MNRP uses rates and methodologies established by
26
               Medicare and replaces Reasonable and Customary (R&C) processing for plans that
                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 20 of 39




1           utilize MNRP. This program uses the Centers for Medicare and Medicaid Services
            (CMS) Fee Schedules.
2
            66.     United then quoted the entire definition of “Allowed Amounts” from the MS&G
3

4    Plan, including that the ONET Allowed Amount is to be based, first, on “Negotiated rates agreed

5    to by the out-of-Network provider and either us or one of our vendors, affiliates or

6    subcontractors.” After that, it stated: “Because the claim(s) for this service(s) was processed
7
     according to the above plan provision(s), our original determination remains unchanged, and the
8
     determination is upheld.” Subsequently, United added: “Please understand that this is your final
9
     level of internal appeal with us.”
10
            67.     United’s appeal denial made no sense. While it confirmed that it used Medicare
11

12   rates to set the Allowed Amount, it also quoted the MS&G Plan language which requires that

13   Medicare should not be used if the ONET provider has a negotiated rate agreement with a United
14   vendor. Despite stating that the claims had been processed “according to” the plan provisions, it
15
     ignored the fact that SSI and Dr. Schwaegler had a negotiated rate agreement with two United
16
     vendors, MultiPlan and PMCS, such that United had, in fact, violated the plan terms.
17
            68.     On May 28, 2020, United responded to the Washington OIC concerning Koohns’s
18

19
     grievance. In explaining how it had processed his claims, United stated: “We processed the claim

20   allowing the Eligible Expense rate of $131.09.”

21          69.     After quoting the ONET reimbursement policy under the MS&G Plan, United
22
     attempted to explain why it nevertheless used Medicare rates:
23
            Although a provider may have an agreement with MultiPlan or PMCS, for
24          members enrolled in this type of plan, there are new limits regarding the access to
            shared savings discounts. Since the member’s Benefit Plan allows out-of-network
25          pricing using a percentage of the available published rates allowed by Medicare
            for the same or similar services within the geographic market, then the claim(s)
26
            will be processed using those rates instead of Shared Savings. The use of Shared
                                                                             SIRIANNI YOUTZ
                                                                       SPOONEMORE HAMBURGER PLLC
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 21 of 39




1           Savings Program providers or fee-negotiated agreements is not a guarantee of
            benefits, nor a guarantee that a discount will be applicable.
2
            70.     This defense fails because the so-called “new limits” being applied by United are
3

4    not part of the MS&G Plan, nor does the plan language that requires United to apply vendor

5    contracts for ONET reimbursement incorporate or refer to United’s “Shared Savings” program.

6    As a result, when United applied this policy to use Medicare rates instead of an existing negotiated
7
     rate agreement with MultiPlan or PMCS, United violated the clear and unambiguous plan terms
8
     which required application of the pre-existing vendor contracts when processing ONET claims.
9
            Koohns’s Surgical Claims
10
            71.     In October 2019, Koohns received spine surgery at SSI to address his severe back
11

12   pain. The surgery was “staged,” meaning it was performed in two parts. Part one was performed

13   on October 21, 2019, and the second part was performed two days later, on October 23, 2019.
14   Both surgeries were pre-authorized by United.
15
            72.     The stage one surgery was performed by Dr. Schwaegler, for which he billed
16
     $9,970.00. In processing the claim, as described in an EOB issued by UHC Washington and dated
17
     May 4, 2021, United identified the Allowed Amount as $1,482.81. United identified Koohns as
18

19
     being responsible for the unpaid charges of $8,618.28 (with $131.09 attributable to his deductible,

20   and $0.00 in coinsurance).

21          73.     In setting the Allowed Amount, United applied Medicare rates, citing note “ND,”
22
     which stated: “This out-of-network service was paid based on Medicare allowed amounts or other
23
     sources if no Medicare amount is available.”
24
            74.     SSI billed $123,792.55 in facility charges for stage 1 of Mr. Koohns’s surgery. As
25
     reported in an EOB issued by UHC Washington and dated February 4, 2021, United processed
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 21                                             3101 WESTERN AVENUE, SUITE 350
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 22 of 39




1    the claim, again defaulting to Medicare methodology (as indicated by remark codes “ND” and

2    “NE”), allowing a total of $23,639.00. United identified Mr. Koohns as being responsible for the
3
     unpaid charges of $100,816.62 ($0.00 in deductible, and $753.07 in coinsurance).
4
            75.       The second stage of the spinal surgery was performed at SSI by Dr. Schwaegler,
5
     along with the assistance of Mr. Fernandez. For this service, Dr. Schwaegler billed $30,357.50,
6
     Mr. Fernandez billed $7,578.15, and SSI billed $180,081.26 in facility charges.
7

8           76.       United processed these stage 2 claims again using Medicare rates to set the

9    Allowed Amount, issuing in EOBs the identical explanation concerning the use of Medicare

10   allowed amounts for each claim.
11
                  •   For Dr. Schwaegler’s claim, United allowed $5,995.48 on charges of $30,357.50,
12
                      as reported in two EOBs issued by UHC Washington dated, respectively,
13
                      September 29, 2020, and October 1, 2020. United identified Koohns as being
14

15
                      responsible for the unpaid charges of $29,103.66 ($3,487.82 in deductible, and

16                    $1,253.82 in coinsurance).

17                •   For Mr. Fernandez’s claim, United allowed $839.37 on charges of $7,578.15. In
18
                      an EOB issued by UHC Washington dated October 5, 2020. United identified
19
                      Koohns as being responsible for unpaid charges of $7,158.46 ($0.00 in deductible,
20
                      and $419.68 in coinsurance).
21

22
                  •   For the SSI facility claim, United allowed $10,146.88 on charges of $180,081.26.

23                    Claim processing was reported in multiple EOBs issued by UHC Washington, and

24                    collectively United identified Koohns as being responsible for the unpaid charges
25
                      of $175,007.81 ($0.00 in deductible, and $5,073.43 in coinsurance).
26

                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 22                                            3101 WESTERN AVENUE, SUITE 350
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 23 of 39




1           77.     In processing the claims for both the first and second stage surgeries, United

2    ignored the negotiated rate agreement that SSI has with MultiPlan and/or PMCS, both United
3
     vendors. In so doing, United failed to comply with the terms of the MS&G Plan requiring use of
4
     one of these agreements to set the Allowed Amount. Instead, United turned to an alternative
5
     methodology (Medicare rates) which—under the MS&G Plan—was only to be used if there is no
6
     negotiated rate agreement. Had United properly carried out the terms in the MS&G Plan, his
7

8    financial responsibility would have been limited to deductible and coinsurance only, which

9    collectively (all claims related to his surgery) total $16,192.34. This is far less than the

10   $320,705.73 that United has identified as being his financial responsibility due solely to United’s
11
     failure to use the negotiated rate in either of SSI’s vendor agreements.
12
            78.     By letter dated March 12, 2021, Koohns appealed the adverse benefit
13
     determinations issued by United with respect to his October 21 and 23, 2019 surgeries, stating:
14
            I am writing to appeal the allowed amounts for each claim as I believe they were
15
            incorrectly determined based on Medicare rates. The incorrect processing has left
16          me financially responsible for more than $300,000! My appeal request is that
            United Healthcare reprocess these claims based on my Plan’s negotiated rate
17          benefits. Such corrected processing will leave me responsible for deductible and
            coinsurance amounts only, as intended by the Plan and as expected by me.
18

19
            79.     In his appeal, Koohns described in detail the MS&G Plan provision relating to

20   ONET reimbursements, as detailed herein, and why it was improper for United to ignore the

21   MultiPlan contract and apply Medicare rates instead. He concluded with the following:
22
            My Plan language makes it clear that Out-of-Network benefits include negotiated
23
            rate agreements when they exist, and are to be used preferentially to any other
            methods listed. My appeal request is simple and straightforward: I request my
24          claims be reprocessed using my Out-of-Network negotiated rate benefit.
            Specifically, I request the allowed amount be based on the Seattle Spine Institute
25          negotiated rate available to United Healthcare through either MultiPlan or PMCS.
            The benefit to me is that Seattle Spine Institute would be obligated to write off any
26
            charge amounts over the negotiated rate, eliminating balance billing me those
                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
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     [Case No. 2:21-cv-01220]                                                 SEATTLE, WASHINGTON 98121
                                                                          TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 24 of 39




1           charges, and leaving me responsible for coinsurance and deductible amounts only.
            This would be consistent with my Plan benefits and would be a tremendous
2           financial benefit to me.
3
            80.     United sent a letter to Koohns dated April 5, 2021 in response to his appeal.
4
     However, the letter did not address the content or merits of the appeal. Instead, it was merely a
5
     copy of a different letter United had forwarded to Dr. Schwaegler on the same date. That letter
6
     informed Dr. Schwaegler that he would need to send United a “complete authorization” to allow
7

8    him to appeal on behalf of Koohns. This made no sense, though, since Koohns, not Dr.

9    Schwaegler, had appealed his own claims in the letter he sent United dated March 12, 2021, so

10   there was no need for an authorization for Dr. Schwaegler.
11
            81.     United then sent a second letter to Koohns dated April 18, 2021, which purported
12
     to respond to the appeal, stating:
13
            We received your request about the above claim for you [identifying the October
14          21, 2019 surgery performed at SSI]. This claim was for health care services
            provided by Seattle Spine Institute, who is not in your health benefit plan’s
15
            network. Therefore, the coverage amount was lower because the health care
16          services were received by a non-network physician, facility or health care
            professional.
17
            Please remember that your coverage amount is typically higher when you use a
18
            physician, facility or health care professional that participates in your network.
19
            82.     As evident from this quote, which encompasses the entire substantive response
20
     contained in the letter, United failed to respond to the substance of Koohns’s appeal, including by
21
     failing to even acknowledge his contention that United should have applied the MultiPlan or
22

23
     PMCS contracts when setting the Allowed Amount.

24          83.     Because this represents United’s final response to Koohns’s appeal, and did not

25   offer any further appeal rights, this satisfies Koohns’s obligation to exhaust administrative
26
     remedies under the MS&G Plan prior to pursuing litigation through this action. In any event, the
                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 24                                            3101 WESTERN AVENUE, SUITE 350
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 25 of 39




1    MS&G Plan only requires a single appeal of an adverse benefit determination, which Koohns

2    pursued and which United denied, such that his internal appeals are exhausted.
3
            84.     United’s adjudication of Koohns’s claims not only breached the terms of the
4
     underlying Vendor Contract Plan, but also constituted a violation of United’s fiduciary duties
5
     under ERISA, including a breach of its duty of loyalty. Because the MS&G Plan is fully insured,
6
     any benefit payments come out of United’s own assets. As a result, United benefited itself by
7

8    ignoring the negotiated rate agreement that SSI and its providers had with MultiPlan and PMCS,

9    and setting the Allowed Amount based on the far lower Medicare rates instead. United therefore

10   put its own interests over those of Koohns, in violation of United’s duty of loyalty to administer
11
     the MS&G Plan solely in the interest of the plan beneficiaries, including Koohns.
12
            Plaintiff Lockhart
13
                    The Jacobs Plan
14
            85.     Lockhart is insured under the Jacobs Plan, which is a self-funded plan governed
15

16   by ERISA. Lockhart was provided an insurance card which specifies that he is a member of a

17   UnitedHealthcare Choice Plus-HSA plan that is “administered by United Healthcare Services,
18
     Inc.” The insurance card includes the logos of UnitedHealthcare and Jacobs. In addition, the
19
     insurance card includes a logo for MultiPlan.
20
            86.     The written terms of the Jacobs Plan explain that “Jacobs has delegated to
21
     UnitedHealthcare the discretion and authority to decide whether a treatment or supply is a
22

23
     Covered Health Service and how the Eligible Expenses will be determined and otherwise covered

24   under the Plan.”

25

26

                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 25                                           3101 WESTERN AVENUE, SUITE 350
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 26 of 39




1           87.       The written terms of the Jacobs Plan largely track the language in the Target Plan

2    with respect to how Eligible Expenses—which has the same meaning as “Allowed Amount” in
3
     the MS&G Plan—are calculated, stating:
4
            For Network Benefits. Eligible Expenses are based on the following:
5
                  •   When Covered Health Services are received from a Network provider,
6                     Eligible Expenses are UnitedHealthcare’s contracted fee(s) with that
                      provider. . . .
7

8           For Non-Network Benefits, Eligible Expenses are based on either of the
            following:
9
                  •   When Covered Health Services are received from a non-Network provider,
10
                      Eligible Expenses are determined, based on:
11
                      ❖ Negotiated rates agreed to by the non-Network provider and either
12                      UnitedHealthcare or one of UnitedHealthcare’s vendors, affiliates or
                        subcontractors, at UnitedHealthcare’s discretion.
13
                      ❖ If rates have not been negotiated, then one of the following amounts:
14

15                       1) For Covered Health Services other than Pharmaceutical Products,
                            Eligible Expenses are determined based on available data resources
16                          of competitive fees in that geographic area.

17                       2) When Covered Health Services are Pharmaceutical Products,
                            Eligible Expenses are determined based on 110% of the published
18
                            rates allowed by the Centers for Medicare and Medicaid Services
19                          (CMS) for the same or similar service within the geographic area.

20          88.       As in the Target Plan, this plan provision requires United to first look to any

21   agreements the ONET provider has with United or one of its vendors and apply the negotiated
22
     rates from any such agreement to set Eligible Expenses. The second bullet under the “For Non-
23
     Network Benefits” section is articulated with an “if, then…” premise, identifying that only in the
24
     absence of such an agreement is United able to turn to the alternate methodologies, such as
25
     Medicare rates.
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 26                                            3101 WESTERN AVENUE, SUITE 350
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 27 of 39




1           89.     Like the MS&G and Target Plans, the Jacobs Plan is a Vendor Contract Plan that

2    requires use of negotiated rates with United vendors to set the allowed amount for ONET services,
3
     with the alternative methodologies used only if rates have not been negotiated.
4
            SCV’s MultiPlan Contract and Lockhart’s Benefit Claim
5
            90.     In April 2020, Lockhart sought surgery at the Surgery Center of Vierra, LLC
6
     (“SCV”) to address his years-long history of severe low back pain.
7

8           91.     SCV is an ONET provider with respect to United.

9           92.     SCV is party to a contract with MultiPlan, which contract became effective as of

10   November 1, 2017. It provides that the “Contract Rate” for outpatient surgical procedures is the
11
     lesser of 500% of the CMS fee schedule, if applicable, or 60% of billed charges, less any co-
12
     payments, deductibles or coinsurance the applicable plan imposed on the patient. If CMS does
13
     not have a fee schedule rate for a particular procedure, then the contract calls for payment of 60%
14
     of billed charges. Pursuant to the contract, SCV agreed to accept the contracted rate as payment
15

16   in full for claims submitted to plans administered by one of MultiPlan’s clients, such as United,

17   and agreed not to balance bill the patient for the difference between the billed charges and the
18
     contracted rate.
19
            93.     MultiPlan subsequently confirmed to SCV that United was one of its clients.
20
            94.     By letter dated April 10, 2020, United gave prior authorization for Lockhart’s
21
     surgery, stating: “Based on the information submitted, we have determined that the treatment is
22

23
     medically necessary and is eligible for coverage up to the amount/frequency included in the

24   request.”

25          95.     On April 15, 2020, SCV provided facility services (operating room services) for
26
     Lockhart’s spinal surgery.
                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 27                                            3101 WESTERN AVENUE, SUITE 350
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 28 of 39




1           96.     The American Medical Association (“AMA”) has created and publishes the

2    Current Procedural Terminology (“CPT”), which has become the industry standard providers use
3
     to report surgical procedures and services to insurance companies. This is true for physician
4
     providers as well as facility providers. Services associated with specific procedures are
5
     represented by individual Current Procedural Terminology codes (“CPT Codes”), with a separate
6
     five-digit number used for each unique health care service, along with two-digit modifiers that
7

8    may be added to a claim to provide additional details concerning the service that was provided.

9    On behalf of Lockhart, SCV submitted a claim to United based on services represented by 14

10   separate CPT Codes, for which SCV billed a total of $305,964.00.
11
            97.     When submitting the claim for services provided to Lockhart, SCV wrote a letter
12
     to United dated April 22, 2020 identifying that SCV had a Multiplan agreement in place, and that
13
     Lockhart’s claim should be processed per that agreement based on his plan benefit. The referenced
14
     MultiPlan agreement was also provided, with the letter specifically stating: “This patient’s plan
15

16   falls under a contract that we have with MULTIPLAN – please see the attached agreement – and

17   the expectations would be his claim would process according to this contract.” On June 17, 2020,
18
     United (under letterhead for Defendant UHIC and its Affiliates, using the executive office address
19
     of Defendant UHG) submitted an Electronic Provider Remittance Advice (“PRA”) to SCV, which
20
     detailed how United had processed the claim. United identified the total “Amount Allowed” for
21
     all services provided to be $15,370.40, and applied $8,751.91 of that amount to Lockhart’s
22

23
     deductible/coinsurance/copayment; United then reported that it had paid SCV $6,618.49.

24          98.     Notably, United used the term “Allowed Amount” in the PRA to represent the

25   “Eligible Expenses” under the Jacobs Plan. In so doing, United demonstrated that these terms
26
     have the same meaning and are interchangeable.
                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 28                                           3101 WESTERN AVENUE, SUITE 350
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                                                                         TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 29 of 39




1           99.     United processed Lockhart’s claim allowing coverage for only one of the 14

2    procedures, for which the provider had billed CPT Code 22633. CPT Code 22633 represents only
3
     a small portion of the services provided, with its description reading: “Arthrodesis, combined
4
     posterior or posterolateral technique with posterior interbody technique including laminectomy
5
     and/or discectomy sufficient to prepare interspace (other than for decompression), single
6
     interspace and segment; lumbar.” For services related to this procedure, SCV’s charges were
7

8    $58,850.

9           100.    In the PRA, the entire Allowed Amount for all services was applied solely to the

10   single CPT Code, 22633. For services represented by the other 13 CPT Codes, United identified
11
     nothing for the Allowed Amount and paid nothing to SCV, suggesting United’s determination
12
     that all additional services provided were bundled into services related to this single procedure.
13
            101.    In determining the Eligible Expenses for the only covered service, United used the
14
     amount set by Data iSight, a third-party vendor that United frequently uses to “reprice” ONET
15

16   claims. Typically, United sends an ONET bill to Data iSight, which then uses its own proprietary

17   methodology to determine what it deems to be a valid allowable amount. In the processing of
18
     Lockhart’s claim, Data iSight explained the methodology it used as follows:
19
            Methodology. The Data iSight reimbursement determination is calculated using
20          paid claims data from millions of claims from many different payers and patients
            with a distribution of age, gender and location that reflects the U.S. Census.
21
            The Data iSight reimbursement calculation is based upon standard relative value
22
            units where applicable for each CPT/HCPCS code multiplied by a conversion
23
            factor. The conversion factor is based on the median accepted reimbursement
            amount by physicians/healthcare providers nationwide for each code.
24
            102.    Importantly, Data iSight, or its pricing methodology, is not mentioned in the
25
     Jacobs Plan. Nor is the methodology described by Data iSight consistent with the negotiated rate
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 29                                            3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                 SEATTLE, WASHINGTON 98121
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            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 30 of 39




1    SCV has with Multiplan—the negotiated rate agreement United is required to use as its highest

2    priority for determining Eligible Expenses.
3
            103.    In summary, United ignored the letter by SCV, as well as the mandate in the Jacobs
4
     Plan that Eligible Expenses be determined by the terms in any existing vendor contract. Instead,
5
     United sent the claim to Data iSight for pricing to determine the Eligible Expenses. The
6
     methodology used by Data iSight yielded a benefit payment well below what should have been
7

8    paid under the Jacobs Plan based on the existing contract SCV had entered into with MultiPlan.

9           104.    SCV sent another letter to United dated July 15, 2020. United did not respond.

10          105.    With no response to either letter, SCV filed what it identified as a formal first level
11
     appeal by letter dated December 14, 2020. SCV cited the relevant written plan terms and
12
     demanded that United process Lockhart’s claim based on his ONET benefits under the Jacobs
13
     Plan—specifically, based on SCV’s MultiPlan negotiated rate agreement.
14
            106.    United denied the appeal by letter to Lockhart dated January 11, 2021, stating:
15

16          This claim was processed correctly according to your plan benefits. The claim
            was processed using a rate that was agreed to by the provider and Data iSight.
17          The discount shown is your savings and is not included in the amount you owe.
            You only need to pay your coinsurance, copayment, and/or deductible as listed
18
            on your Explanation of Benefits. If your provider bills you for any other amount,
19
            please call the toll-free number listed on your health plan ID card. If your
            provider has questions about the reimbursement amount, they may visit Data
20          iSight or call toll-free 1-866-835-4022.

21          107.    In its response, United failed to acknowledge either the existence of the contract
22
     between SCV and MultiPlan or the requirement under the Jacobs Plan that United use the
23
     Multiplan agreement as the highest order of priority to determine the Eligible Expenses for
24
     Lockhart’s claim.
25

26

                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 30                                              3101 WESTERN AVENUE, SUITE 350
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                                                                            TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 31 of 39




1           108.    United’s statement that “[t]he claim was processed using a rate that was agreed to

2    by the provider and Data iSight” was false. In fact, SCV was never contacted by Data iSight nor
3
     did it agree to the Data iSight processing. United also misrepresented to Lockhart that he did not
4
     owe the unpaid balance to SCV, in contravention of the plan’s written terms.
5
            109.    SCV filed what it identified as a second level appeal with United dated March 12,
6
     2021, which reiterated its position that United should process Lockhart’s claim based on the
7

8    negotiated rate agreement SCV had with MultiPlan.

9           110.    United denied this appeal by letter to Lockhart dated April 7, 2021, stating that

10   “the original determination remains unchanged, and is upheld.” It further stated that “[t]his claim
11
     has been reimbursed using Data iSight, which utilizes cost data if available (facilities) or paid data
12
     (professionals).” United also confirmed that Lockhart had “exhausted all levels of appeal with
13
     United Healthcare.” United again failed to acknowledge both the existence of the MultiPlan/SCV
14
     agreement, as well as the Jacobs Plan requirement that it use the MultiPlan agreement as the
15

16   highest order of priority to determine Eligible Expenses in the processing of Lockhart’s claim.

17          111.    United’s processing using the Data iSight methodology resulted in the Jacobs Plan
18
     dramatically underpaying Lockhart’s claim, leaving him responsible for 98% of claim charges
19
     (almost $300,000 of the $306,000 in charges). If, instead, United had processed the claim correctly
20
     using SCV’s Multiplan agreement, Lockhart would have been financially responsible for
21
     deductible and coinsurance amounts only, because SCV is required under the terms of its
22

23
     Multiplan agreement to accept the negotiated rates as payment in full.

24          112.    As was true with respect to the claims of Plaintiffs Koohns and Davis, United’s

25   adjudication of Lockhart’s claim not only was contrary to the terms of Jacobs Plan and in violation
26
     of United’s fiduciary duties under ERISA, but also was a breach of the duty of loyalty. By
                                                                                 SIRIANNI YOUTZ
                                                                           SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 31                                              3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                   SEATTLE, WASHINGTON 98121
                                                                            TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 32 of 39




1    exercising its discretion in the manner in which it did, United allowed its customer, the Jacobs

2    Plan, to reduce its benefit expense, incorrectly shifting the cost of that benefit to its member
3
     Lockhart. United did this to increase the likelihood that the Jacobs Plan would continue to employ
4
     United as its claims administrator, despite the fact that in doing so United ignored Lockhart’s
5
     interest in ensuring that the Jacobs Plan’s written terms, and thus the MultiPlan contract, were
6
     followed. Stated differently, United breached its fiduciary duty to administer the Jacobs Plan
7

8    solely in the interest of the plan beneficiaries, including Lockhart.

9           United’s Internal ONET Reimbursement Policy

10          113.    As an ERISA fiduciary, United is required to make benefit determinations
11
     consistent with the terms and conditions of the underlying benefit plan, so long as doing so does
12
     not otherwise violate ERISA. See 29 U.S.C. § 1104(a)(1)(D). Here, that means that United must
13
     apply the terms of the Vendor Contract Plans which require setting the allowed amounts for ONET
14
     services based on negotiated rate agreements that ONET providers have entered into with United
15

16   vendors. Only if no such agreement exists does the Plan authorize United to move to alternative

17   methodologies.
18
            114.    As detailed herein, United has breached its fiduciary duties under ERISA by
19
     repeatedly violating the terms of the Vendor Contract Plans. Specifically, United has consistently
20
     ignored available vendor negotiated rate agreements in favor of reducing its financial obligation
21
     (or that of its self-insured clients) by using alternative claim processing methodologies, including
22

23
     Medicare or third-party pricing via Data iSight.

24          115.    In doing so, United is following an internal guideline that it has adopted giving

25   itself the discretion to ignore plan terms, a guideline titled “Policy for Out-of-Network Providers
26
     Contracted with a Third-Party Network Vendor.” See https://www.uhcprovider.com
                                                                                   SIRIANNI YOUTZ
                                                                             SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 32                                                3101 WESTERN AVENUE, SUITE 350
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                                                                              TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 33 of 39




1    /content/dam/provider/docs/public/policies/protocols/Disclosure-Policy-Non-Par-Providers-

2    Third-Parties.pdf (“United ONET Policy”).
3
            116.    Pursuant to the United ONET Policy, United purports to communicate with ONET
4
     providers, stating: “As an out-of-network provider you may provide healthcare services to
5
     members of benefit plans offered or administered by UnitedHealthcare or its affiliates
6
     (collectively, ‘UnitedHealthcare’).” It then describes how it deals with negotiated rate contracts
7

8    that ONET providers may have with United vendors:

9           Not all member benefit plans include out-of-network benefits for elective services.
            When out-of-network network benefits are available for elective services or if the
10          services are deemed to be at the in-network benefit level, UnitedHealthcare may
            elect to process out-of-network claims under its Shared Savings Program as
11
            described in a member’s benefit plan. Under the Shared Savings Program
12          UnitedHealthcare may contract with third-party network vendors to provide
            additional savings for our members. These third-party network vendors may have
13          contracted with you directly.
14          When processing an out-of-network claim, UnitedHealthcare reserves the right to
            pay the lesser of the amount in your third-party network vendor contract or an
15
            amount consistent with United’s benchmark standards.
16
            This policy does not apply where prohibited by law.
17
            117.    Through this policy, United recognizes that it contracts with third-party vendors
18

19
     that in turn may contract with ONET providers who offer services to United-insured patients.

20   However, it unilaterally “reserves” for itself “the right to pay the lesser of the amount” otherwise

21   payable under the vendor contract and an amount established by “benchmark standards” adopted
22
     by United. By applying this internal policy, United calculates improperly low benefit payments,
23
     shifting financial responsibility for such benefits from itself (or from its self-insured clients) to
24
     plan members. The implications and adverse consequences of applying this policy are reflected
25
     in the foregoing allegations about the claims of Plaintiffs Koohns, Davis and Lockhart.
26

                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 33                                             3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                  SEATTLE, WASHINGTON 98121
                                                                           TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 34 of 39




1           118.    The United ONET Policy violates the unambiguous terms of the Vendor Contract

2    Plans. The Vendor Contract Plans require United, as the claims administrator and ERISA
3
     fiduciary, to apply the contracted rate established by a pre-existing vendor contract for setting the
4
     allowed amounts for ONET services. The Vendor Contract Plans do not give United the discretion
5
     to ignore this requirement, nor do they permit United to “reserve” for itself the right to ignore
6
     these clear and unambiguous plan terms.
7

8           119.    By applying the United ONET Policy to set the allowed amounts for ONET

9    services below the rates established by pre-existing negotiated rate agreements ONET providers

10   have with United vendors, United is breaching the Vendor Contract Plan terms and violating its
11
     fiduciary duties under ERISA.
12
            120.    United’s adoption of the United ONET Policy demonstrates that United was
13
     influenced by its conflict of interest in making benefit determinations. By adopting the United
14
     ONET Policy, United put its own interests over those of its beneficiaries by paying lower benefits
15

16   than were, in fact, required by its Vendor Contract Plans.

17                                       CLASS ALLEGATIONS
18
            121.    United administers numerous Vendor Contract Plans with written plan language
19
     that is materially indistinguishable from the MS&G, Target, and Jacobs Plans as alleged herein.
20
            122.    MultiPlan, PMCS, and other vendors have negotiated rate agreements with
21
     thousands of ONET providers. These vendors make their negotiated rate agreements available to
22

23
     health care plans and administrators, including United, pursuant to which the plans and

24   administrators can take advantage of the discounted rates in processing ONET claims.

25          123.    United has entered into agreements with MultiPlan, PMCS, and other vendors,
26
     pursuant to which it has access to their discounted rate agreements with ONET providers. When
                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 34                                             3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                  SEATTLE, WASHINGTON 98121
                                                                           TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 35 of 39




1    doing so will benefit itself or its self-funded clients, United at times applies those agreements

2    when processing ONET claims, while on many other occasions, such as with the Koohns, Davis,
3
     and Lockhart examples detailed herein, it ignores the vendor agreements, in violation of the clear
4
     and unambiguous terms of the Vendor Contract Plans.
5
            124.    Based on information and belief, there was nothing unique about the way United
6
     adjudicated Plaintiffs’ claims. Instead, it appears that United engaged in similar misconduct with
7

8    respect to numerous ERISA beneficiaries insured by Vendor Contract Plans, as it applied the

9    United ONET Policy. The fact that United ignored the MultiPlan or other vendor contracts for

10   ONET providers as far apart as the states of Washington and Florida strongly suggests that
11
     United’s practice is widespread.
12
            125.    As a result, Plaintiffs bring claims on behalf of a class (the “Class”) defined as
13
     follows:
14
            All persons in the United States who were insured under a Vendor Contract Plan
15
            that is governed by ERISA and where United processed a claim for ONET services
16          and determined that benefits were due and owing under the Plan without applying
            a pre-existing agreement that set negotiated rates for ONET provider services with
17          United or one of its vendors, affiliates or subcontractors.
18
            126.    The members of this proposed Class are so numerous as to make joinder of all
19
     members impractical. Although the precise number of United insured impacted by United’s
20
     conduct is known only to United and can be obtained during discovery, United is one of the largest
21
     insurance companies in the United States and administers claims on behalf of millions of insureds.
22

23
     And given that two of United’s vendors are MultiPlan and PMCS, which alone represent

24   thousands of negotiated rate agreements, it is reasonable to assume that there are thousands of

25   ERISA insureds who fall within the proposed Class.
26

                                                                              SIRIANNI YOUTZ
                                                                        SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 35                                           3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                SEATTLE, WASHINGTON 98121
                                                                         TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 36 of 39




1            127.    There are questions of law or fact common to the Class, including but not limited

2    to whether, in setting the allowed amount for ONET services under a Vendor Contract Plan
3
     (whether labeled “Eligible Expense,” “Eligible Charge,” “Allowed Amount,” or other
4
     synonymous term), United is required to first utilized any pre-existing agreement between an
5
     ONET provider and any of United’s vendors.
6
             128.    Plaintiffs will fairly and adequately protect the interests of the members of the
7

8    Class, are committed to the vigorous prosecution of this action, have retained counsel competent

9    and experienced in class action litigation and the prosecution of ERISA claims, and have no

10   interests antagonistic to or in conflict with those of the Class.
11
             129.    United has acted on grounds that apply generally to the Class, as United has
12
     engaged in a uniform practice of reducing benefit payments below the level required by written
13
     terms of Vendor Contract Plans by ignoring the requirements of pre-existing contracts between
14
     ONET providers and United or any of its vendors.
15

16           130.    In its role as a claims administrator and ERISA fiduciary for the plans at issue,

17   United maintains records of when and how it receives, processes, pays, or refuses to pay claims
18
     for ONET services. Moreover, United has records, or will have the ability to access such records,
19
     reflecting any agreements that it or any of its vendors have with Class members. Accordingly, the
20
     members of the Class can be readily and objectively ascertained through use of United’s records
21
     or the records United can access from its vendors.
22

23
                                                 COUNT I
                         (Claim for relief under ERISA, 29 U.S.C. § 1132(a)(1)(B))
24
             131.    The foregoing allegations are re-alleged and incorporated by reference as if fully
25
     set forth herein.
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 36                                            3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                 SEATTLE, WASHINGTON 98121
                                                                          TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 37 of 39




1            132.    This count is brought pursuant to 29 U.S.C. § 1132(a)(1)(B).

2            133.    United violated the written terms of Vendor Contract Plans it administered and
3
     administers, as well as its fiduciary duty to honor written plan terms, by setting the Allowed
4
     Amount for ONET services without applying the negotiated rates established under contracts
5
     between ONET providers and United or any of its vendors.
6
             134.    United also violated its ERISA fiduciary duties, including its duty of loyalty,
7

8    because its decision not to apply such negotiated rates reflected its elevation of its own interests

9    and those of its employer customers above the interests of plan members, and the duty to act in

10   accordance with the written terms of the plan.
11
                                                 COUNT II
12                       (Claim for relief under ERISA, 29 U.S.C. § 1132(a)(3)(A))

13           135.    The foregoing allegations are re-alleged and incorporated by reference as if fully
14   set forth herein.
15
             136.    This count is brought pursuant to ERISA, 29 U.S.C. § 1132(a)(3)(A), to enjoin
16
     United’s unlawful acts and practices, as detailed herein. Plaintiffs bring this claim only to the
17
     extent that the Court finds that the injunctive relief sought below is unavailable pursuant to 29
18

19
     U.S.C. § 1132(a)(1)(B).

20                                              COUNT III
                         (Claim for relief under ERISA, 29 U.S.C. § 1132(a)(3)(B))
21
             137.    The foregoing allegations are re-alleged and incorporated by reference as if fully
22

23
     set forth herein.

24           138.    This count is brought pursuant to 29 U.S.C. § 1132(a)(3)(B), to obtain appropriate

25   equitable relief to redress United’s violation of ERISA and of its Vendor Contract Plans. Plaintiffs
26

                                                                               SIRIANNI YOUTZ
                                                                         SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 37                                             3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                  SEATTLE, WASHINGTON 98121
                                                                           TEL. (206) 223-0303 FAX (206) 223-0246
            Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 38 of 39




1    bring this claim only to the extent that the Court finds that the equitable relief sought below is

2    unavailable pursuant to 29 U.S.C. § 1132(a)(1)(B) or 29 U.S.C. § 1132(a)(3)(A).
3
            WHEREFORE, Plaintiffs demand judgment in their favor against United as follows:
4
            A.      Certifying the Class and appointing Plaintiffs as Class Representatives and
5
     Plaintiffs’ counsel as Class Counsel;
6
            B.      Declaring that United violated its legal obligations in the manner described herein;
7
            C.      Permanently enjoining United from engaging in the misconduct described herein;
8
            D.      Awarding benefits due, plus pre- and post-judgment interest, or ordering United to
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     re-adjudicate the benefit amounts and cause the full amount of benefits owed to be paid, based on
10
     the amounts required under the terms of the negotiated rate agreements that the ONET providers
11
     have entered into with United or one of its vendors, plus pre- and post-judgment interest;
12
            E.      Ordering United to disgorge any profits it earned through the ERISA and plan
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     violations detailed herein, to issue restitution for the losses suffered by Class Members as a result
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     of such misconduct, and/or to order payment of an appropriate surcharge as necessary to make
15
     Class Members whole;
16
            F.      Awarding Plaintiffs disbursements and expenses of this action, including
17
     reasonable attorney fees, in amounts to be determined by the Court; and
18
            G.      Granting such other and further equitable or remedial relief as is just and proper.
19
            DATED: September 7, 2021.
20
                                                   By: s/ Eleanor Hamburger
21                                                 Eleanor Hamburger (WSBA #26478)
                                                   SIRIANNI YOUTZ
22                                                 SPOONEMORE HAMBURGER PLLC
                                                   3101 Western Avenue, Suite 350
23
                                                   Seattle, WA 98121
24                                                 Tel. (206) 223-0303
                                                   Fax (206) 223-0246
25                                                 ehamburger@sylaw.com
26

                                                                                SIRIANNI YOUTZ
                                                                          SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 38                                             3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                                  SEATTLE, WASHINGTON 98121
                                                                           TEL. (206) 223-0303 FAX (206) 223-0246
           Case 2:21-cv-01220-RSM Document 1 Filed 09/07/21 Page 39 of 39




1                                       D. Brian Hufford, Esq. (pro hac vice pending)
                                        Jason S. Cowart, Esq. (pro hac vice pending)
2                                       ZUCKERMAN SPAEDER LLP
                                        485 Madison Avenue, 10th floor
3
                                        New York, NY 10022
4                                       Tel. (212) 704-9660
                                        dbhufford@zuckerman.com
5                                       jcowart@zuckerman.com

6                                       Andrew N. Goldfarb, Esq. (pro hac vice pending)
                                        ZUCKERMAN SPAEDER LLP
7
                                        1800 M Street, NW, Suite 1000
8
                                        Washington, DC 20036
                                        Tel. (202) 778-1800
9                                       agoldfarb@zuckerman.com

10                                      Jeffrey L. Greyber, Esq. (pro hac vice pending)
                                        CALLAGY LAW, P.C.
11                                      1900 N.W. Corporate Blvd., Suite 310W
                                        Boca Raton, FL 33431
12
                                        Tel. (561) 405-7966
13                                      jgreyber@callagylaw.com

14                                      Meiram Bendat, Esq. (pro hac vice pending)
                                        PSYCH-APPEAL, INC.
15                                      7 West Figueroa Street, Suite 300
                                        Santa Barbara, CA 93101
16
                                        Tel. (310) 598-3690, ext. 101
17                                      mbendat@psych-appeal.com

18                                      Counsel for Plaintiffs and the Putative Class

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20

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22

23

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25

26

                                                                   SIRIANNI YOUTZ
                                                             SPOONEMORE HAMBURGER PLLC
     CLASS ACTION COMPLAINT – 39                                3101 WESTERN AVENUE, SUITE 350
     [Case No. 2:21-cv-01220]                                     SEATTLE, WASHINGTON 98121
                                                              TEL. (206) 223-0303 FAX (206) 223-0246
